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                    IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                (Charlotte Division)

In re:                                        )      Chapter 7
                                              )
Gabbidon Builders, LLC                        )      Case No. 20-30845
                                              )
                       Debtor.                )

                      NOTICE OF OPPORTUNITY FOR HEARING
     (No Protest Notice – No Hearing Will be Held Unless Request for Hearing is Filed)

       PLEASE TAKE NOTICE that Cole Hayes, Trustee for the estate of the above captioned
Chapter 7 bankruptcy, has filed a Motion to Approve Settlement Pursuant to Bankruptcy Rule 9019
(the “Motion”).

       PLEASE TAKE FURTHER NOTICE that your rights may be affected by the Motion. You
should read the Motion carefully and discuss it with your attorney. If you do not have an attorney,
you may wish to consult with one.

       PLEASE TAKE FURTHER NOTICE that in order for a hearing to be held on the Motion,
written responses, if any, must be filed on or before November 16, 2021 (the “Response
Deadline”) in order to be considered. If you do not want the Court to grant the relief requested in
the Motion, or if you oppose it in any way, you MUST:

         (1)   File a formal, written a response with the Bankruptcy Court at:

                      Clerk, United States Bankruptcy Court
                      Charles Jonas Federal Building
                      401 West Trade Street
                      Charlotte, North Carolina 28202

         (2)   Serve a copy of your response on all parties in interest, including:

                        U.S. Bankruptcy Administrator
                        402 West Trade Street
                        Charlotte, NC 28202

                        Cole Hayes, Trustee
                        601 S. Kings Drive
                        Suite F PMB #411
                        Charlotte, NC 28204
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       PLEASE TAKE FURTHER NOTICE that IF RESPONSES ARE TIMELY FILED, a
hearing on the Motion will be held before the Honorable Laura T. Beyer at the United States
Bankruptcy Court, Charles Jonas Federal Building, Courtroom 2A, 401 West Trade Street,
Charlotte, North Carolina on December 15, 2021 at 9:30 A.M. (ET).

       PLEASE TAKE FURTHER NOTICE that, if you or your attorney do not file a written
response to the Motion on or before the Response Deadline, the Court may grant the relief
requested in the Motion without a hearing. No further notice will be given.

Dated: Charlotte, North Carolina
       October 26, 2021

                                                 /s/ Cole Hayes
                                         Cole Hayes (Bar No. 44443)
                                         601 S. Kings Drive
                                         Suite F PMB #411
                                         Charlotte, NC 28204
                                         704-490-4247
                                         cole@colehayeslaw.com
                                         Trustee and attorney for the Trustee




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